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                        Exhibit 2
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From: Chris Janish <chrisj@legal-bay.com>
Sent: Thursday, January 30, 2020 11:22 AM
To: Jimmy Beltz <jimmy@mustangfunding.com>; Kevin Cavanaugh <kcavanaugh@corribcapital.com>
Cc: 'Peter Caravella (caravellap@yahoo.com)' <caravellap@yahoo.com>
Subject: FW: Angela Rocha - additional funding request - offer on the table

Gentlemen, The below history that is going on with Mustang/Patrick contacting our broker relationships directly is very
concerning. It is not “noise” as Jimmy states. We have been more than acceptable to working with Mustang and allowing
them to operate their portion of the business; however we feel that these activities are detrimental to Legal-Bay’s
business and relationships that it has worked hard to develop.

Since last summer Legal-Bay has tried to get an understandable agreement that protects all parties. Mustang never
finalized that understanding after numerous rounds of changes with lawyers. The meeting in Vegas seemingly got us on
the same page, however these recent events are clear that Mustang is operating however they wish with our
relationships. We feel this goes against the credit line agreement that we signed initially and remains in full force and
effect.

We never introduced Mustang to Nova Funding, however Patrick has taken it upon himself to call them, do business
with them, and acquaint himself with their staff. To the point that they are calling him directly now. If Mustang is
deliberately doing this to make Legal-Bay obsolete or cause a rift in the relationship, then we have not choice but to deal
with this seriously.

I request an immediately call to outline some ground rules and understanding.




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From: Chris Janish <chrisj@legal-bay.com>
Sent: Thursday, January 30, 2020 12:11 PM
To: Diana Camara <diana@novafunding.com>; UW <uw@legal-bay.com>
Cc: Patrick Shannon <patrick@mustangfunding.com>
Subject: RE: Angela Rocha - additional funding request - offer on the table

This is already approved. Our processing team did not get a request for additional funding. Please explain how this case
was submitted? Thank you,




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From: Diana Camara <diana@novafunding.com>
Sent: Thursday, January 30, 2020 11:57 AM
To: UW <uw@legal-bay.com>
Subject: Angela Rocha - additional funding request - offer on the table

Hello,

Good morning.
Angela Rocha is requesting an additional 5k.
I just spoke with the attorney, she confirmed there's a 750k on the table. She should b e emailing me soon for a written
confirmation.

Please let me know if this is doable.

Kind regards,



--
Diana Camara
Nova Legal Funding
Direct: (213) 258-4493
Fax: (310) 870-3794
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11601 Wilshire Blvd., Suite 410
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